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                        UNITED STATES COURT OF APPEALS                    FILED
                               FOR THE NINTH CIRCUIT                       JAN 22 2024
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
  DEBBY DAY; DE ANN YOUNG; JASON                  No.    22-55825
  GLUCKMAN; RILEE GRAU; COURTNEY
  HAAPENEN; MEGAN DILLON;                         D.C. No. 8:21-cv-01286-JLS-DFM
  GENEVIEVE AVALOS; NATALIE LUNA;                 Central District of California,
  MARISSA ALFAIA; BRITTANY                        Santa Ana
  WORKMAN; NATALIE WINOKUR;
  OLIVIA SERRANO; SIERRA SCALI;                   ORDER
  STEPHANIE RAMIREZ; BRIELLE
  WORKMAN; CATHERINE SLABAUGH;
  LAUREN SALVATI; KENDALL
  MARINESI; SIERRA PEREZ; MIA
  ONESTO; ARIANA MENDOZA;
  MEGHAN HENRY; MADISON GUNN;
  ALEXA FINDLEY; CELESTE EKMAN;
  TARYN FAULL; SAMMY EDMONDS,

                    Plaintiffs-Appellees,
    v.

  CALIFORNIA LUTHERAN UNIVERSITY;
  CHRIS KIMBALL; MELISSA MAXWELL-
  DOHERTY; JIM MCHUGH; KARIN
  GRENNAN,

                    Defendants-Appellants.

  Before: Lisa B. Fitzgerald, Appellate Commissioner.

                                      I. Introduction

           The court determined that defendants-appellants California Lutheran

  University, Chris Kimball, Melissa Maxwell-Doherty, Jim McHugh, and Karin

  Grennan (CLU) are entitled to attorneys’ fees on appeal under California’s

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  Strategic Lawsuit Against Public Participation (anti-SLAPP) statute, Cal. Civ.

  Proc. Code § 425.16(c)(1), and referred to the appellate commissioner the

  determination of an appropriate amount of fees. See 9th Cir. R. 39-1.9.

           CLU requests $128,738.00 in fees for 311 hours of work by Saul Ewing

  LLP of Philadelphia, Pennsylvania:

      Timekeeper            Position    Admitted Hours Rate          Fees
      Henry A. Platt        Partner     1989      98.8 $495.00       $ 48,906.00
      Joshua W. Richards    Partner     2006      60.5 $495.00       $ 29,947.50
      Alexander R. Bilus    Partner     2007       3.9 $495.00       $ 1,930.50
      Carolyn M. Toll       Associate   2018       1.6 $337.501      $    540.00
      Carolyn M. Toll       Associate   2018     124.3 $325.00       $ 40,397.50
      J. Hibner-Spencer     Paralegal   N/A        3.9 $335.002      $ 1,306.50
      J. Hibner-Spencer     Paralegal   N/A       17.2 $320.003      $ 5,504.00
      Amit Shah             Paralegal   N/A        0.4 $265.00       $    106.00
      Mark Beauge           Paralegal   N/A        0.4 $250.00       $    100.00
      Total                                      311.0               $128,738.00

           Plaintiffs-appellees Debby Day, De Ann Young, Jason Gluckman, Rilee

  Grau, Courtney Haapenen, Megan Dillon, Genevieve Avalos, Natalie Luna,

  Marissa Alfaia, Brittany Workman, Natalie Winokur, Olivia Serrano, Sierra Scali,




  1
    Toll’s 08/23/23 rate is taken from the time records, see CLU Exh. A, Fee Sched.,
  Docket Entry No. 35-3 at 11, not from the summary. See CLU Mem., Docket Entry
  No. 35-2 at 3.
  2
    Hibner-Spencer’s 2023 rate is taken from the time records, see CLU Exh. A, Fee
  Schedule, Docket Entry No. 35-3 at 7-11, not from the summary. See CLU Mem.,
  Docket Entry No. 35-2 at 3.
  3
    Hibner-Spencer’s 2022 rate is taken from the time records, see CLU Exh. A, Fee
  Schedule, Docket Entry No. 35-3 at 2-6, not from the summary. See CLU Mem.,
  Docket Entry No. 35-2 at 3.

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  Stephanie Ramirez, Brielle Workman, Catherine Slabaugh, Lauren Salvati,

  Kendall Marinesi, Sierra Perez, Mia Onesto, Ariana Mendoza, Meghan Henry,

  Madison Gunn, Alexa Findley, Celeste Ekman, Taryn Faull, and Sammy Edmonds

  (Day) object that the fee request should be reduced or denied entirely.

           CLU is awarded 297.5 hours and $124,185.00 in fees.

                                       II. Discussion

  A. Richards’s Affidavit

           Day objects that Richards’s affidavit is inadequate to support the fee request,

  but cites no case law in support. The objections are overruled. See Almont

  Ambulatory Surgery Ctr. v. UnitedHealth Grp., No. CV 14-3053-MWF (AFMx),

  2018 WL 11242038, at *4 (C.D. Cal. Apr. 26, 2018) (“[C]ourts routinely accept

  affidavits from one attorney in support of a fee request that comprises the work of

  other attorneys with whom the declarant works.”). Ninth Circuit Rule 39-1.6(b)(3)

  requires CLU to submit “an affidavit or declaration attesting to the accuracy of the

  information” in the fee request, not a separate affidavit from each firm timekeeper.

  B. Reasonable Hourly Rates

           Day objects to the requested hourly rates, but offers no evidence to show

  that they are unreasonable. The requested rates are reasonable, and they are

  awarded. See PLCM Grp. v. Drexler, 997 P.2d 511, 518 (Cal. 2000) (rate is

  reasonable if in line with prevailing market rates).



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           Richards states that the requested rates are “the billing rates that the Firm

  charges its client . . . which represent significant discounts from [the attorneys’]

  regular hourly rates.” CLU Exh. B, Richards Aff. ¶ 13, Docket Entry No. 35-3 at 4.

  Richards also states that “[i]n my opinion, and based on my familiarity with the

  prevailing market rates . . . these rates are reasonable billing rates charged for

  comparable work by other law firms and attorneys and paralegals with comparable

  skills, experience, and expertise.” CLU Exh. B, Richards Aff. ¶ 14, Docket Entry

  No. 35-3 at 5.

           Moreover, CLU cites 2017 and 2019 Central District of California cases

  awarding higher rates for comparable attorneys. See Forouzan v. BMW of N. Am.,

  No. CV 17-3875-DMG (GJSx), 2019 WL 856395, at *4 (C.D. Cal. Jan. 11, 2019)

  (finding reasonable $365 to $370 per hour for fifth-year attorney and $595 per hour

  for 18-year attorney); J.N. v. Hendrickson, No. 2-14-CV-02428-DDP (PLAx),

  2017 WL 3498608, at *2-3 (C.D. Cal. Aug. 15, 2017) (awarding $380 per hour to

  sixth-year attorney and $650 per hour for 29-year attorney).

  C. Reasonably Expended Hours

           1. Block Billing

           Day’s contention that CLU’s fee request should be denied in its entirety

  because the attorneys and paralegals block billed some of their time entries is not

  supported by precedent. See Fischer v. SJB-P.D. Inc., 214 F.3d 1115, 1121 (9th



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  Cir. 2000) (holding that it was an abuse of discretion to deny entirely rather than

  simply reduce a poorly documented fee request); see also Welch v. Metro. Life Ins.

  Co., 480 F.3d 942, 948 (9th Cir. 2007) (vacating across-the-board reduction for

  block billing that was applied to all hours instead of only block-billed hours).

           Contrary to Day’s contention, CLU’s attorneys’ and paralegals’ billing

  practices do not “mak[e] it impossible to evaluate [the] reasonableness” of the

  requested hours. Welch, 480 F.3d at 948. The entries Day claims are block-billed

  mainly describe details of single tasks, rather than lumping together multiple tasks,

  and they often include subtotals of the time spent. Cf. Welch, 480 F.3d at 945 n.2,

  948 (describing block billing). Consequently, no reduction is warranted for block

  billing.

           2. Duplicative Work

           Day argues that the requested hours should be reduced because multiple

  attorneys billed for the same work, but Day does not show any work was

  unnecessarily duplicative. See Moreno v. City of Sacramento, 534 F.3d 1106, 1113

  (9th Cir. 2008). (“[N]ecessary duplication . . . cannot be a legitimate basis for a fee

  reduction. It is only where the lawyer does unnecessarily duplicative work that the

  court may legitimately cut the hours.”) (emphasis in original).

           Contrary to Day’s contentions, the attorneys’ repeated time entries for

  “Work on Ninth Circuit Opening Brief,” “Work on reply brief,” and “Prepare for



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  oral argument” are sufficiently detailed. Cf. Fischer, 214 F.3d at 1121 (approving

  fee reduction where entries do not identify general subject matter). Repeated

  editing and review of briefs is not necessarily redundant. See Moreno, 534 F.3d at

  1113. Multiple attorneys can reasonably prepare for oral argument. See Dem. Party

  of Wash. State v. Reed, 388 F.3d 1281, 1286-87 (9th Cir. 2004) (participation of

  several lawyers in argument preparation is not unnecessary duplication of effort).

           Although not identified by Day, Toll’s 2.2 hours ($715.00 in fees) and

  Richards’s 1.4 hours ($693.00 in fees) for conferences also billed by Platt4 are

  disallowed. See Welch, 480 F.3d at 949 (affirming reduction of hours for intra-

  office conferences between experienced lead counsel and colleague as unnecessary

  and duplicative); Common Cause v. Jones, 235 F. Supp. 2d 1076, 1080 (C.D. Cal.

  2002) (billing only for most senior attorney on team conference call eliminates

  duplication).

           3. Clerical Work

           Day objects that the requested hours should be reduced for similar or

  identical time entries involving administrative tasks. Although no reduction is

  warranted for duplication, some reduction for billing administrative work is

  justified. See Missouri v. Jenkins, 491 U.S. 274, 288 n.10 (1989) (“[P]urely clerical




  4
      9/21/22, 2/28/23. See CLU Exh. A, Fee Sched., Docket Entry No. 35-3 at 2, 7.

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  or secretarial tasks should not be billed at a paralegal [or attorney] rate, regardless

  of who performs them.”).

           Paralegal Hibner-Spencer’s 7 hours in 2022 ($2,240.00 in fees) for

  paginating and preparing cover sheets, an index, and tables for the excerpts of

  record, and for filing and transmitting the opening brief and excerpts, are

  disallowed as clerical. See Day App. Exh. 2, Docket Entry No. 36-2 at 8-9. In

  contrast, Hibner-Spencer’s time for reviewing excerpt preparation rules, creating

  record citations, and checking legal citations,5 as well as attorney Platt’s time for

  procedural issues regarding filing of the brief and excerpts and further actions to be

  taken,6 is allowed as largely legal in nature.

           Additional time not identified by Day is also disallowed as clerical.

  Paralegal Beauge’s 0.4 hour ($100.00 in fees)7 and Hibner-Spencer’s 0.1 hour in

  2022 ($32.00 in fees)8 for arranging a file transfer site are disallowed. Paralegal

  Shah’s 0.4 hour ($106.00 in fees)9 for granting access to a network folder, and

  Hibner-Spencer’s 1.7 hours in 2023 ($569.50 in fees)10 for retrieving, organizing,



  5
    12/14/22 (0.2 hour), 12/15/22 (2 hours), 12/15/22 (1.5 hours), 12/19/22 (2.5
  hours), 12/20/22 (0.5 hour). See Day App. Exh. 2, Docket Entry No. 36-2 at 8-9.
  6
    12/19/22 (0.3 hour). See Day App. Exh. 2, Docket Entry No. 36-2 at 9.
  7
    11/02/22. See CLU Exh. A, Fee Sched., Docket Entry No. 35-3 at 4.
  8
    11/02/22. See CLU Exh. A, Fee Sched., Docket Entry No. 35-3 at 4.
  9
    7/7/23. See CLU Exh. A, Fee Sched., Docket Entry No. 35-3 at 10.
  10
     2/28/23 (0.3 hour), 3/3/23 (0.5 hour), 3/17/23 (0.4 hour), 3/20/23 (0.3 hour),
  3/22/23 (0.2 hour). See CLU Exh. A, Fee Sched., Docket Entry No. 35-3 at 7-9.

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  reviewing, and circulating court filings, and preparing tables for, filing, and

  transmitting the reply brief, are also disallowed.

           4. Remaining Hours

           Toll’s 0.3 hour ($97.50 in fees)11 for work on admission to practice in the

  Ninth Circuit is disallowed as firm overhead. See Hensley v. Eckerhart, 461 U.S.

  424, 434 (1983) (“Hours that are not properly billed to one’s client also are not

  properly billed to one’s adversary.”) (citation and emphasis omitted).

           CLU’s attorneys and paralegal reasonably spent the remaining 297.5 hours

  on the appeal and the hours are awarded. See PLCM Grp., 997 P.2d at 518

  (reasonable fee is product of reasonably expended hours times reasonable hourly

  rate). The attorneys and paralegal prepared an opening brief, excerpts of record, a

  reply brief, and further excerpts of record, along with a mediation questionnaire, a

  representation statement, an opposition to a motion for judicial notice, an

  acknowledgment of hearing notice, and a fee motion. CLU does not request fees

  for a reply to Day’s response to the fee motion. Richards appeared at oral argument

  in Pasadena.

  D. Fees Summary

           After the disallowances discussed above and reflected in bold type below,

  CLU is awarded $124,185.00 in fees:


  11
       9/12/22. See CLU Exh. A, Fee Sched., Docket Entry No. 35-3 at 2.

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      Timekeeper              Position    Admitted Hours Rate    Fees
      Henry A. Platt          Partner     1989      98.8 $495.00 $ 48,906.00
      Joshua W. Richards      Partner     2006      59.1 $495.00 $ 29,254.50
      Alexander R. Bilus      Partner     2007       3.9 $495.00 $ 1,930.50
      Carolyn M. Toll         Associate   2018       1.6 $337.50 $    540.00
      Carolyn M. Toll         Associate   2018     121.8 $325.00 $ 39,585.00
      J. Hibner-Spencer       Paralegal   N/A        2.2 $335.00 $    737.00
      J. Hibner-Spencer       Paralegal   N/A       10.1 $320.00 $ 3,232.00
      Amit Shah               Paralegal   N/A        0   $265.00 $      0
      Mark Beauge             Paralegal   N/A        0   $250.00 $      0
      Total                                        297.5         $124,185.00

                                      III. Conclusion

           Under California’s Strategic Lawsuit Against Public Participation (anti-

  SLAPP) statute, Cal. Civ. Proc. Code § 425.16(c)(1), attorneys’ fees on appeal in

  the amount of $124,185.00 are awarded in favor of defendants-appellants

  California Lutheran University, Chris Kimball, Melissa Maxwell-Doherty, Jim

  McHugh, and Karin Grennan, and against plaintiffs-appellees Debby Day, De Ann

  Young, Jason Gluckman, Rilee Grau, Courtney Haapenen, Megan Dillon,

  Genevieve Avalos, Natalie Luna, Marissa Alfaia, Brittany Workman, Natalie

  Winokur, Olivia Serrano, Sierra Scali, Stephanie Ramirez, Brielle Workman,

  Catherine Slabaugh, Lauren Salvati, Kendall Marinesi, Sierra Perez, Mia Onesto,

  Ariana Mendoza, Meghan Henry, Madison Gunn, Alexa Findley, Celeste Ekman,

  Taryn Faull, and Sammy Edmonds. See 9th Cir. R. 39-1.9.

           This order amends the court’s mandate.




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